Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 1 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
District of Maryland
Samuel Olekanma )
Plaintiff
v. ) Civil ActionNo. / ELH 19 CV166 A
TENAKA DUNK ) —
)
Defendant )
SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) TENAKA DUNK

7943 BROCKBRIDGE ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Samuel Olekanma

P O BOX 433
LANHAM MARYLAND 20703

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
rss Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 2 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (0)

This summons for (name of individual and title, if any)

was received by me on (date)

C1 I personally served the summons on the individual at (place)

on (date) ; or

[1 1 left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

O Iserved the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
© Ireturned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 3 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
District of Maryland
Samuel Olekanma )
)
Plaintiff
i ) a
v. ) Civil Action No. ; ELH i g CV 16 6 4
RITA AWUNGTIA
Defendant )
SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) RITA AWUNGTIA
7943 BROCKBRIDGE ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Samuel Olekanma

P O BOX 433
LANHAM MARYLAND 20703

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 4 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

I personally served the summons on the individual at (place)

On (date) ; or

© T left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

O I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
© I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 5 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland

Samuel Olekanma

)
ap )
Plaintiff )-
v. ) Civil Action No. EL j 9 CV
RENEE SOUNDERS : Hi l 6 6 4
Defendant )
SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) RENEE SOUNDERS

7943 BROCKBRIDGE ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Samuel Olekanma

P O BOX 433
LANHAM MARYLAND 20703

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 6 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) 5 Or

© I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

O I served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)

on (date) ; or

(1 I returned the summons unexecuted because ; Or
1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 7 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Maryland

Samuel Olekanma

Plaintiff
Vv.

TAPHANY WASHINGTON

Civil ActionNo. ELH 19 CV1i664

ee eee ee eS

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) TAPHANY WASHINGTON
7943 BROCKBRIDGE ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Samuel Olekanma

P O BOX 433
LANHAM MARYLAND 20703

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 8 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

(7 I personally served the summons on the individual at (place)

on (date) ; Or

© T left the summons at the individual’s residence or usual place of abode with (name)
, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; Or
O I returned the summons unexecuted because ,or
Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 9 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

District of Maryland

Samuel Olekanma

Plaintiff _ .
Civil ActionNo. ELH 19 LV 1664

V.

PAMELA THOMPSON

Defendant
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) PAMELA THOMPSON
7943 BROCKBRIDGE ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Samuel Olekanma

P O BOX 433
LANHAM MARYLAND 20703

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 10 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) ‘or

© 1 left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

C1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
© J returned the summons unexecuted because : or
J Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
‘> Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 11 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

District of Maryland

Samuel Olekanma

)
Hani )
aintiff )

Vv. ) Civil Action No.
MARK CATER )
)
Defendant )

SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) MARK CATER

7943 BROCKBRIDGE ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Samuel Olekanma

P O BOX 433
LANHAM MARYLAND 20703

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
» > Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 12 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

[1 I personally served the summons on the individual at (place)

on (date) ; or

© T left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; Or
I returned the summons unexecuted because ; or
Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
a Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 13 of 30

AO 440 (Rev. 12/09) Summons ina Civil Action

 

UNITED STATES DISTRICT COURT

for the

District of Maryland

Samuel Olekanma

Plaintiff

ELH 19 LV1664

Vv. Civil Action No.

KEVIN BRANCH

See ee ee

Defendant
SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) KEVIN BRANCH
7943 BROCKBRIDGE ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Samuel Olekanma

P O BOX 433
LANHAM MARYLAND 20703

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
” Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 14 of 30

AO 440 (Rev. 12/09) Summons ina Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()))

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) or

( T left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 3 or
© Ireturned the summons unexecuted because > or
Other (specifi):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
. Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 15 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland
Samuel Olekanma )
Plaintiff
v. ) Civil ActionNo. — EL 19 CV1664
LATHAN LINTON ) °

)
Defendant )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) LATHAN LINTON

7943 BROCKBRIDGE ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Samuel Olekanma

P O BOX 433
LANHAM MARYLAND 20703

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
, Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 16 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) ; or

© T left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; Or
© I returned the summons unexecuted because ; or
1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
yr

Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 17 of 30

AO 440 (Rev. 12/09) Summons ina Civil Action

 

UNITED STATES DISTRICT COURT

for the
District of Maryland
Samuel Olekanma )
)
Plaintiff ) 6
Vv. ) Civil Action No. i ELH 19 CV l 6 4
MARISSA RANDOLPH
Defendant )
SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) MARISSA RANDOLPH

7943 BROCKBRIDGE ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Samuel Olekanma

P O BOX 433
LANHAM MARYLAND 20703

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
Fines -

Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 18 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) ; or

1 T left the summons at the individual’s residence or usual place of abode with (name)
; a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

C I served the summons on (name of individual) , who Is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because , 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 19 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action

 

 

UNITED STATES DISTRICT COURT

for the
District of Maryland
Samuel Olekanma )
)
Plaintiff ~ gr
i ) 1664
Vv. ) Civil Action No. ; ELK A 9 CV 6

JUDITH EKHELAR
)

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) JUDITH EKHELAR

7943 BROCKBRIDGE ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Samuel Olekanma

PO BOX 433
LANHAM MARYLAND 20703

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
2p

Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 20 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) ; or

© T left the summons at the individual’s residence or usual place of abode with (name)
, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; Or
(J I returned the summons unexecuted because :or
C1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
~™

Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 21 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

District of Maryland

Samuel Olekanma

Plaintiff 4 N 1 6 6 4
Vv. : Civil Action No. ELK * 9 L

KENYETTA STEWART

me ee ee

Defendant
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) KENYETTA STEWART
7943 BROCKBRIDGE ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Samuel Olekanma

P O BOX 433
LANHAM MARYLAND 20703

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
_ ae

Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 22 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) ; or

©} T left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
© I returned the summons unexecuted because : or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 23 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland

Samuel Olekanma )

Plain )
laintiff ) 7 -

v. ) Civil Action No. FLH 1 9 CV 1 6 6 &

PATRICK OKAFOR ) ,

)

Defendant )

SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) PATRICK OKAFOR

2020 TOULSON ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Samuel Olekanma

P O BOX 433
LANHAM MARYLAND 20703 *

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 24 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) :or

1 I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address, or

O Iserved the summons on (name of individual) , who ts

designated by law to accept service of process on behalf of (name of organization)

on (date) 5 or
O [returned the summons unexecuted because ; or
Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
“a

Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 25 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

District of Maryland

Samuel Olekanma

)
Plaintiff ELH 1 9 CV 1 6 6 bh
Vv. ) Civil Action No.
SAMANTHA KELLY )
)
Defendant )
SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) SAMANTHA KELLY
7943 BROCKBRIDGE ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Samuel Olekanma

P O BOX 433
LANHAM MARYLAND 20703

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
4

Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 26 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) 3 or

(1 T left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who ts

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
I returned the summons unexecuted because :or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Yr.

Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 27 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Samuel Olekanma

)
= )
Plaintiff )
v. ) Civil Action No. ELH | 9 C y 1 6 6 4
MICHELLE PACHECO ) _ eb
)
Defendant )
SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) MICHELLE PACHECO
7943 BROCKBRIDGE ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Samuel Olekanma

P O BOX 433
LANHAM MARYLAND 20703

.

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
Pi

- Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 28 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) ;or

© 1 left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
© I returned the summons unexecuted because ; or
Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 29 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Samuel Olekanma

Plaintiff

Civil ActionNo. ELM iy ON 1664

t

Vv.
MARGARET CHIPPENDALE
7943 BROCKBRIDGE ROAD
Defendant

mee ee ee eee

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) MARGARET CHIPPENDALE
7943 BROCKBRIDGE ROAD
JESSUP MARYLAND 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Samuel Olekanma

P O BOX 433
LANHAM MARYLAND 20703

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk

 
Case 1:19-cv-01664-ELH Document 1-4 Filed 06/05/19 Page 30 of 30

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

I personally served the summons on the individual at (place)

on (date)

[1 T left the summons at the individual’s residence or usual place of abode with (name)
, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

© Iserved the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
[returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and § for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
